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              UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ARIZONA


 AMREP, INC.                                     ) Miscellaneous Docket
                                                 )
                 Plaintiff,                      )
                                                 )
    v.                                           )
                                                 )
 YAVAPAI COLLEGE,                                )
                                                 )
                 Defendant.                      )


MOTION TO COMPEL COMPLIANCE WITH RULE 45 SUBPOENA DUCES TECUM
         Pursuant to Rule 45(e) and (f), Amrep, Inc. (“Amrep”) moves for an order to compel

Yavapai College (“Yavapai”) to comply with and produce the documents requested in the attached

Subpoena Duces Tecum (“Subpoena”, attached as Exhibit 1). In support of this Motion, Amrep

states as follows:

         1.       The Subpoena was issued in connection to the case of Tyler Underwood v. O’Reilly

Auto Enterprises, LLC, et al., pending in the U.S. District Court for the District of Nevada at

Docket No. 2:21-cv-01766-GMN-NJK (the “Underlying Action”). Amrep is a defendant in the

Underlying Action.

         2.       The Subpoena was issued from the Court in which the Underlying Action is

pending, pursuant to Fed. R. Civ. P. 45(a)(2).

         3.       The Subpoena was personally served to Yavapai on March 23, 2022 at 1:01 p.m.

The Proof of Service of the Subpoena is attached as Exhibit 2.

         4.       The Subpoena requested production of documents concerning former student Tyler

Daniel Fred Underwood, the plaintiff in the Underlying Action, within twenty days of service. The

Subpoena permitted production of these records by email.
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       5.      Yavapai mailed correspondence to undersigned counsel on March 28, 2022

(attached as Exhibit 3), refusing to provide documents pursuant to the Subpoena on the basis that

it was not issued from an Arizona state court and therefore it is not a lawfully-issued subpoena.

       6.      Yavapai’s position is incorrect, as federal subpoenas are enforceable nationwide.

See Fed. R. Civ. P. 45(b)(2).

       7.      Undersigned counsel has attempted to contact Yavapai multiple times via telephone

to explain this error, with no success.

       8.      Undersigned counsel has repeatedly left voicemails with Yavapai asking to be put

in contact with its counsel, with no success.

       9.      Yavapai has filed no objections to the Subpoena in the Underlying Action.

       10.     Amrep seeks an order compelling Yavapai to produce all documents available to it

that are responsive to the Subpoena, as required by Fed. R. Civ. P. 45(e).

Date: July 6, 2022

                                                     BABST, CALLAND, CLEMENTS AND
                                                     ZOMNIR, P.C.
                                                     /s/Matthew Wood
                                                     Matthew Wood
                                                     AZ I.D. No. 029588
                                                     mwood@babstcalland.com
                                                     Alexandra G. Farone
                                                     (to be admitted pro hac vice)
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                                                     Two Gateway Center, 6th Floor
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                                                     (412) 394-5400

                                                     Counsel for Amrep. Inc.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 6, 2022, a true and correct copy of this Motion to Compel

was mailed via Regular U.S. Mail to the following:

                                       Yavapai College
                                     1100 E Sheldon Street
                                      Prescott, AZ 86301


                                                     /s/Matthew Wood
                                                     Matthew Wood
